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5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-020 TLN
                                                  )
11                  Plaintiff,                    )   STIPULATION AND ORDER TO
                                                  )   CONTINUE STATUS CONFERENCE, AND TO
12          vs.                                   )   EXCLUDE TIME
                                                  )
13   MARTY MARCIANO BOONE and                     )   Date: December 1, 2016
     RONDA BOONE,                                 )   Time: 9:30 a.m.
14                                                )   Judge: Hon. Troy L. Nunley
                    Defendants.                   )
15                                                )
16           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through Assistant United States Attorney Jared Dolan, attorney for Plaintiff, Heather
18
     Williams, Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorney
19
     for Marty Marciano Boone, and Robert Wilson, attorney for Ronda Boone, that the status
20
     conference scheduled for December 1, 2016 be vacated and be continued to January 12, 2017 at
21
22   9:30 a.m.

23           The grounds for this continuance are that defense counsel would like additional time to
24   review the 19,000 pages of discovery that has been produced and to investigate the facts of the
25
     case, so to allow time for effective preparation and to negotiate a resolution to this matter.
26
     Specifically, defense counsel continues to analyze the financial records produced by the
27
     government and investigation the legal basis for possible motions under Rule 12 of the Federal
28

      Stipulation and Order to Continue Status         -1-
      Conference
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1    Rules of Criminal Procedure.
2            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
3    excluded of this order’s date through and including January 12, 2017; pursuant to 18 U.S.C.
4    §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
5    based upon defense preparation.
6    DATED: November 14, 2016                    Respectfully submitted,
7
                                                 HEATHER E. WILLIAMS
8                                                Federal Defender

9                                                /s/ Hannah R. Labaree
                                                 HANNAH R. LABAREE
10                                               Assistant Federal Defender
11                                               Attorney for MARTY MARCIANO BOONE

12   DATED: November 14, 2016                    /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
13                                               Attorney for RONDA BOONE
14
15   DATED: November 14, 2016                    PHILLIP A. TALBERT
                                                 Acting United States Attorney
16
                                                 /s/ Jared Dolan
17                                               JARED DOLAN
18                                               Assistant U.S. Attorney
                                                 Attorney for Plaintiff
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      Stipulation and Order to Continue Status      -2-
      Conference
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1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    January 12, 2017, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the December 1, 2016 status conference shall be continued until January 12,
13   2017, at 9:30 a.m.
14   Dated: November 15, 2016
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16
                                                             Troy L. Nunley
17                                                           United States District Judge
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      Stipulation and Order to Continue Status        -3-
      Conference
